IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

Rrernyen
So reg DISTRICT COURT

Civil Action No. \R-cy— 66 ddk-~ KAY UNITED Fo JER, COLORADO
(To be supplied by the court) ~ ve
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?) LA, Melua Uodividual consct by .

e) Nurse (Ley Liles Chadiviclaat SP acihy)
162) 4) Uni Led States , Defendant(s).

(List each named defendant on a separate line.)

 

 

PRISONER COMPLAINT

 

(Rev. 1/30/07)
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A. PARTIES

 

 

»_S. MupsZ. , ORE ICE, Unknoun addeess.

(Name, title, ED address of first defendant)

 

At the time the claim(s) alleged in this complaint arose, was this defendant acting under
color eet law? _&” Yes __ No (CHECK ONE). Briefly explain your answer:

 

 

3. “Ae Dolnskcn if COiCE, Vakagnn Rds

(Nanie, title, and addréss of second defendant)

 

 

At the time the re alleged in this complaint arose, was this defendant acting under
color of state law? # Yes ___ No (CHECK ONE). Briefly explain your answer:

 

 

4. ¢ tut L. Z Unk na cun address

(Name, title, dnd address of third defendant)

 

At the time the claim(s)alleged in this complaint arose, was this defendant acting under
color of eae law? Yes __ No (CHECK ONE). Briefly explain your answer:

 

 

(if you are suing more than three defendants, use extra paper to provide the information
requested above for each additional defendant. The information about additional defendants
should be labeled “A. PARTIES.”)

(Rev. 1/30/07) 2
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A. Parties

 

 

 

 

 

 

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B. JURISDICTION

1. J assert jurisdiction over my civil rights claim(s) pursuant to: (check one if applicable)

28 U.S.C. § 1343 and 42 U.S.C. § 1983 (state prisoners)

Mog U'S.C. § 1331 and Bivens vy. Six Unknown Named Agents of Fed. Bureau of
Narcotics, 403 U.S. 388 (1971) (federal prisoners)

2. assert jurisdiction pursuant to the following additional or alternative statutes (if any):

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Une ().5- Coates Stuttg levy vie YOS.C. 5367-2 680.

 

 

C. NATURE OF THE CASE

BRIEFLY state the background of your case. If more space is needed to describe the nature of
the case, use extra paper to complete this section. The additional allegations regarding the nature
of the case should be labeled “C. NATURE OF THE CASE.”

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(Rev. 1/30/07) 3
 

 

 

 

 

 

 

 

 

 

 

 

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D. CAUSE OF ACTION

State concisely every claim that you wish to assert in this action. For each claim, specify the
right that allegedly has been violated and state all supporting facts that you consider important,
including the date(s) on which the incident(s) occurred, the name(s) of the specific person(s)
involved in each claim, and the specific facts that show how each person was involved in each
claim. You do not need to cite specific cases to support your claim(s). If additional space is
needed to describe any claim or to assert more than three claims, use extra paper to continue that
claim or to assert the additional claim(s). The additional pages regarding the cause of action
should be labeled “D. CAUSE OF ACTION.”

1. Claim One:

 

Supporting Facts:

Dee Following Pages ,

(Rev. 1/30/07) 4
 

 

 

 

 

 

 

 

 

 

 

 

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E. PREVIOUS LAWSUITS

Have you ever filed a lawsuit, other than this lawsuit, in any federal or state court while you
were incarcerated?__—- Yes SO No (CHECK ONE). If your answer is "Yes," complete this
section of the form. If you have filed more than one lawsuit in the past, use extra paper to
provide the necessary information for each additional lawsuit. The information about additional
lawsuits should be labeled "E. PREVIOUS LAWSUITS."

1. Name(s) of defendant(s) in prior
lawsuit:

 

2. Docket number and court name:

 

3. Claims raised in prior lawsuit:

 

4. Disposition of prior lawsuit (for
example, is the prior lawsuit still
pending? Was it dismissed?):

 

5. Ifthe prior lawsuit was dismissed,
when was it dismissed and why?

 

6. Result(s) of any appeal in the prior
lawsuit:

 

F. ADMINISTRATIVE RELIEF

1. Is there a formal grievance procedure at the institution in which you are confined?

_X Yes __ No (CHECK ONE).

2. Did you exhaust available administrative remedies? xX Yes __ No (CHECK ONE).
See Ey A Cechaastin prow )

(Rev. 1/30/07) 7
G. REQUEST FOR RELIEF

State the relief you are requesting. If you need more space to complete this section, use extra
paper. The additional requests for relief should be labeled “G. REQUEST FOR RELIEF.”

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DECLARATION UNDER PENALTY OF PERJURY

I declare under penalty of perjury that J am the plaintiff in this action, that I have read this
complaint, and that the information in this complaint is true and correct. See 28 U.S.C. §
1746; 18 U.S.C. § 1621.

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Liz LZ
JA PvSoRer s Original Signature)

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